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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

___________________________________

Jessica Ehlers,
                                                             CIVIL FILE NO. _______________
       Plaintiff,
                                                                                  COMPLAINT
       v.
                                                                    JURY TRIAL DEMANDED
University of Minnesota,

      Defendant.
____________________________________

       Plaintiff, Jessica Ehlers, as and for her Complaint against Defendant, University of

Minnesota, through her attorney, states and alleges as follows:

PARTIES

   1. Plaintiff is a person with disabilities living in St. Paul, Minnesota. From November 12,

       2012 until April 17, 2017 Plaintiff was employed by Defendant in its Boynton Health

       Services. She brings this action to secure redress for Defendant's violation of her right

       (a) to be free from employment discrimination and harassment based on her disabilities,

       (b) to reasonable accommodation of her disabilities, and (c) to be free of retaliation for

       engaging in protected activity under the Americans with Disabilities Act (“ADA”).

   2. Defendant is an agency of the State of Minnesota and an employer within the meaning of

       the ADA.

JURISDICTION & VENUE

   3. This Court has jurisdiction over this action under 28 U.S.C. § 1331 in that this case arises

       under federal law, specifically, the ADA 42 U.S.C. §§ 12112(a), 12112(b)(5)(A)-(B) and
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     12203(a).

  4. Venue is proper in the District of Minnesota because the unlawful employment

     discrimination and retaliatory actions giving rise to Plaintiff's claims occurred in

     Minnesota.

EXHAUSTION OF ADMINISTRATIVE REMEDIES

  5. Plaintiff has exhausted her administrative remedies. On or about December 20, 2016,

     Plaintiff filed a timely administrative charge against Defendant with the U.S. Equal

     Employment Opportunity Commission (EEOC).            On or about September 20, 2017,

     Plaintiff timely filed a second administrative charge against Defendant with the U.S.

     Equal Employment Opportunity Commission (EEOC).

  6. Though the parties attempted to set up early mediation, the mediation never took place

     because of preconditions required by Defendant. On July 11, 2018 the EEOC closed its

     files without a determination and notified Plaintiff of her right to sue Defendant. (Ex. #1

     and Ex. #2).

FACT ALLEGATIONS

  7. Plaintiff has a permanent physical condition known as a temporomandibular joint

     disorder, commonly known as TMJ. (“TMJ”). Her TMJ substantially impacts on a

     numerous major life activities, including limiting her ability to eat, speak, and work in

     noisy environments without causing pain, including but not limited to severe migraine

     headaches.

  8. Her TMJ additionally affects several other musculoskeletal areas such as her neck, arms,

     and wrists, limiting her ability to perform repetitive tasks using her arms and hands

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   without causing pain.

9. Plaintiff commenced her employment with Defendant as an Administrative Assistant to

   the Director of Nursing on November 12, 2012. She had a private office in which to do

   her work. Her essential job duties primarily consisted of paperwork with very little need

   to engage in lengthy conversations, except to occasionally assist as a back-up

   receptionist.

10. Plaintiff was fully qualified to perform all the essential duties of an Administrative

   Assistant.

11. Commencing on or about January, 2014, Plaintiff’s supervisor required her to

   significantly increase the amount of time she needed to spend as the department’s back-

   up receptionist, decreasing the amount of time other co-workers spent as receptionists.

   This significantly aggravated her TMJ causing muscle spasms, increased pain in her jaw,

   throat, ears, eyes, headaches and locked jaw, resulting in trouble with speaking, eating,

   impaired jaw range of motion and facial expressions.

12. On April 6, 2015 Plaintiff informed her supervisor of her disability and requested

   reasonable accommodation amounting to adjusting the amount of time she was required

   to perform receptionist duties. Her supervisor refused and told Plaintiff to get permission

   from her co-workers. Her co-workers refused to give the relief she needed to

   accommodate her disability.

13. On April 6, 2015, Plaintiff informed Defendant’s Vice Provost and Director of Boynton

   Health Services of her TMJ disability.

14. On April 7, 2015 Plaintiff informed Defendant’s Human Resources Department of her

   disability and requested reasonable accommodation. The Human Resources Director

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   advised her against formally requesting reasonable accommodation and counseled her to

   just take speaking breaks as needed.

15. In May, 2015, after taking the advice of the Human Resources Director, Plaintiff’s

   supervisor threatened her with termination if she continued to take the speaking breaks

   she needed. In addition, requests by non-disabled employees to perform less receptionist

   work were granted and resulted in Plaintiff being assigned even more receptionist work

   time, further exacerbating her disability.

16. On or about May 14, 2015 Plaintiff’s supervisor and the Human Resources Director

   accused Plaintiff of making "baseless" complaints that her supervisor or others were not

   observing her disability needs and threatened Plaintiff that any future complaints would

   be treated as performance issues.

17. Plaintiff continued to press the need to have relief from the receptionist duties as she was

   told upon being hired that she would not be a receptionist and such duties were described

   as minimal. Despite Plaintiff’s efforts, Defendant’s Human Resources Director and

   Plaintiff's supervisor continued threatening Plaintiff, that if she failed to increase work

   time as a receptionist, or had any other issues, she would not have a job.

18. On October 7, 2015 Plaintiff was told she was being involuntarily transferred to the

   Office of Student Health Insurance as an Executive Office and Administrative Specialist.

   This new position was under a different supervisor and, despite Defendant’s knowledge

   of Plaintiff’s disability, in a call/walk-in center where her duties required constant talking

   on the phone and in-person with students and student’s parents.

19. Plaintiff protested this transfer as being retaliatory for her having requested reasonable

   accommodation of her TMJ disability. Defendant’s HR Director’s only response to her

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   protest was “you can’t prove it.”

20. From October, 2015 to July, 2016, Plaintiff efforts to get new her supervisor to give her

   some reasonable accommodation were rejected and she was assigned to be first in the

   queue to receive in-coming calls, resulting in even further aggravation of her disability.

21. On June 20, 2016, despite the prior admonition from the Human Resource Director

   against formally seeking reasonable accommodation, Plaintiff formally requested to

   register her disability with Defendant’s Office of Disability Services.

22. On July 19, 2016, Plaintiff formally requested reasonable accommodation of her

   disability through her doctor.

23. The aggravation of Plaintiff’s disability from having increased her speaking related

   duties as receptionist and the subsequent involuntary transfer to a position that required

   even more significant speaking resulted in her doctor recommending complete medical

   leave from August 22, 2016 to October 1, 2016, with intermittent leave needed

   thereafter.

24. Plaintiff went on FMLA leave as a result of needing relief for the aggravation of her

   disability.

25. Plaintiff was cleared to return to work on October 1, 2016 with a request for an

   accommodation of 15 minute non-speaking work periods each hour, including a 15

   minute non-speaking period just before lunch.

26. On September 28, 2016 Defendant informed Plaintiff that the accommodation requested

   was being denied because the job “cannot be restructured to a non-speaking or reduced

   speaking position.” Plaintiff was told that she could only use approved sick leave and

   remaining FMLA leave to manage her disability.

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27. Plaintiff was also told to report to the Disability Resource Center to explore the

   possibilities for a job transfer. However, Plaintiff was also told that to explore a job

   transfer would require her to actually quit her job and there was no guarantee she would

   obtain another position.

28. Upon her reporting for work on October 3, 2016, Plaintiff was not restored to her

   previous job duties. While her call center duties to advise students and parents about

   insurance products remained, Plaintiff was removed from processing and decision-

   making for RFI programs. Instead, she was assigned mundane data entry duties

   performed by lower classified employees that aggravated the musculoskeletal effects

   from her TMJ on her arms, wrists and hands.

29. Plaintiff’s supervisor explained the change of duties as a routine rotation of duties among

   her co-workers. However, the non-disabled co-worker assigned to Plaintiff’s job during

   her leave of absence continued to perform Plaintiff’s job.

30. Upon her return to work, Plaintiff also learned that her supervisor had recommended that

   all the employees, except Plaintiff, who were doing the same work be reclassified,

   resulting in a promotion, significant pay increase, and increased job transfer flexibility

   for them and denying Plaintiff the same.

31. Plaintiff protested the changes in her job and denial of reclassification as being

   retaliatory for requesting reasonable accommodation and discriminatory based on her

   disability.

32. On December 2, 2016 Plaintiff was again informed that Defendant could not

   accommodate a 15 minute non-speaking period each hour, but if she wanted a 15 minute

   non-speaking period she could ask her supervisor for permission to take one, if the pace

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   of business allowed.

33. Plaintiff has been persisted in engaging Defendant in an interactive process to find

   reasonable accommodation for her disability. Defendant, on the other hand, has rejected

   all reasonable accommodations suggested by Plaintiff without offering any alternative

   reasonable accommodations.

34. In addition, Defendant started requiring Plaintiff to maintain records not required of any

   other employee in the Office of Student Health Insurance, including

       a. All her phone calls and the length of the call;

       b. All in-person speaking time and length;

       c. All non-speaking time;

       d. All work performed during any non-speaking period.

35. Due to Defendant’s failure to provide Plaintiff with reasonable accommodate for her

   disability, by March, 2017 she had exhausted all her FMLA leave, sick leave, and other

   leave.

36. On April 17, 2017, Defendant denied Plaintiff any further leave time or other reasonable

   accommodation and terminated her employment.                Defendant coded Plaintiff’s

   termination as being “for cause” and citing attendance violation.

37. On April 18, 2017 Plaintiff was notified by Defendant’s Disability Resource Center that

   she was eligible for Defendant’s Job Transfer Process as an employee covered by the

   American’s with Disabilities Act Amendments (ADAAA).

38. On September 8, 2017 Plaintiff was notified by Defendant’s Human Resources Office

   that she was now in the Priority Hire/Job Transfer Program.

39. That due to the aggravation of her disability resulting from Defendant’s above-cited

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     conduct and despite her other qualifications, Plaintiff has been significantly restricted in

     the types of jobs and number of hours she can work with or without reasonable

     accommodation.

  40. Plaintiff has applied for numerous open positions with Defendant for which she deemed

     herself qualified.   She received only one conditional job offer and that offer was

     withdrawn after the hiring manager learned of the reasonable accommodations Plaintiff

     needed and was being requested to fully perform the essential duties of the job.

  41. That Defendant has placed barriers to Plaintiff being employed by Defendant including,

         a. Placing her disability complaints in her personnel file, making it accessible to

             hiring managers,

         b. Classifying Plaintiff in a way that discloses her disability status to hiring

             managers and others,

         c. Removing Plaintiff from the Job Transfer Program, and

         d. Refusing to provide reasonable accommodations in order to afford Plaintiff any

             opportunity for employment.

CAUSES OF ACTION

                                      COUNT I
                          DISABILITY DISCRIMINATION (ADA)

  42. Plaintiff realleges and incorporates herein all prior paragraphs of her Complaint.

  43. Plaintiff is a disabled person within the meaning of the ADA and ADAAA.

  44. Plaintiff was and is qualified for the position of Administrative Assistant to the Director

     of Nursing and similar positions, with or without reasonable accommodation.

  45. That Defendant was aware of Plaintiff’s disability.


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46. That upon knowing and because of Plaintiff’s disability Defendant made adverse

   employment decisions and took adverse employment actions against Plaintiff, to wit:

       a. Plaintiff’s supervisor, the Director of Nursing, made unnecessary changes in her

           job duties that substantially and adversely impacted on Plaintiff’s disability and

           employment.

       b. In concert with Defendant’s Human Resources Office, the Director of Nursing

           had Plaintiff involuntarily transferred to a position even less compatible with

           Plaintiff’s disability and resulting in even further adverse impact on Plaintiff’s

           physical well-being and employment.

       c. Denied Plaintiff a promotion, pay increase, and job transfer flexibility granted to

           non-disabled employees in her same classification, department, who were

           performing the same duties.

       d. Terminated      Plaintiff’s   employment     instead    of   providing    reasonable

           accommodation as required by law.

47. That the above conduct by Defendant constitutes discrimination based on Plaintiff’s

   disability under the ADA.

48. That as a result of Defendant’s conduct Plaintiff has suffered damages of present and

   future lost wages and benefits, physical and emotional distress, humiliation, and an

   adverse employment record impacting on her career expectations.

                                    COUNT II.
                FAILURE TO PROVIDE REASONABLE ACCOMMODATION

49. Plaintiff realleges and incorporates herein all prior paragraphs of her Complaint.

50. Plaintiff engaged Defendant in an interactive attempt to obtain reasonable


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   accommodations related to her disability in order to be able to fully perform all essential

   duties of her job.

51. The accommodations requested by Plaintiff through her physicians were reasonable and

   would not impose any hardship on Defendant.

52. Defendant failed and refused to approve, implement and provide Plaintiff with the

   requested reasonable accommodations.

53. Defendant failed and refused to offer its own reasonable alternatives to fully

   accommodate Plaintiff’s disability.

54. That as a result of Defendant’s conduct Plaintiff has suffered damages of present and

   future lost wages and benefits, physical and emotional distress, humiliation, and an

   adverse employment record impacting on her career expectations.

                                         COUNT III.
                                        RETALIATION

55. Plaintiff realleges and incorporates herein all prior paragraphs of her Complaint.

56. Plaintiff engaged in protected conduct under the ADA.

       a. She      reported   her   disability    to   Defendant   and   requested     reasonable

           accommodation.

       b. She objected to the changing of job duties on the basis of her disability.

       c. She protested the involuntary transfer to another supervisor and position as being

           retaliatory and wholly incompatible with her disability.

       d. She filed complaints with the EEOC.

57. In response to Plaintiff’s protected conduct under the ADA, Defendant retaliated against

   Plaintiff by:


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       a. Involuntarily transferring her to a job specifically known to be incompatible with

          her disability without some reasonable accommodation.

       b. Denying Plaintiff a promotion, pay increase and other benefits granted to non-

          disabled employees doing the same work as Plaintiff.

       c. Denying Plaintiff requests for reasonable accommodation without a showing of

          hardship or offering alternatives.

       d. Entering false information into Plaintiff’s employment record.

       e. Terminating Plaintiff’s employment.

58. That as a result of Defendant’s retaliatory conduct Plaintiff has suffered damages of

   present and future lost wages and benefits, physical and emotional distress, humiliation,

   and an adverse employment record impacting on her career expectations.

REQUEST FOR RELIEF

   Wherefore, Plaintiff respectfully prays for the following relief:

A. Awarding Plaintiff all relief available under the ADA, including, but not limited to

   wages, benefits, out of pocket expenses, and other compensation denied or lost to her by

   reason of Defendant’s unlawful conduct described in the paragraphs above, in amounts to

   be determined at trial, with pre-judgment and post-judgment interest, as provided by law;

B. Awarding Plaintiff compensatory damages for her emotional pain, suffering, mental

   anguish, humiliation, and embarrassment caused by Defendant’s unlawful conduct in

   such amount to be determined at trial;

C. Award Plaintiff such exemplary and punitive damages for its malicious and reckless

   conduct, in such amounts to be determined at trial;




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   D. Awarding Plaintiff her reasonable attorney fees, costs, and expenses in this action to the

       extent allowable by law;

   E. Awarding Plaintiff such other and further relief as available at law or equity, including

       removal of all negative or adverse employment records or files relating to Plaintiff’s job

       performance; and

   F. Awarding Plaintiff such other and further relief as the Court deems necessary and proper

       in Plaintiff’s and the public’s interest.


JURY TRIAL DEMAND

       Pursuant to Rule 38(b), Federal Rules of Civil Procedure, Plaintiff requests a jury trial on

all questions of fact raised by her Complaint.

                                                             CALDECOTT & FORRO, P.L.C.

Dated: September 28, 2018                                    By /s/ David R. Forro
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